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April 22, 2022


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The Honorable Stephanos Bibas
United States Court of Appeals for the Third Circuit
601 Market Street
Philadelphia, PA 19106

Re:      M.P. Moon v. E. I. du Pont de Nemours and Co.,
         Case No. 1:19-cv-1856-SB (D. Del.)

Dear Judge Bibas:

        We respectfully submit this letter brief on behalf of Defendant E. I. du Pont de
Nemours and Company (“DuPont”) in the above-referenced matter. With the Court’s
permission, DuPont writes to address the inapplicability of CIGNA Corp. v. Amara, 563 U.S.
421 (2011) (“CIGNA”) and Cunningham v. Wawa, Inc., 387 F. Supp. 3d 529 (E.D. Pa.
2019) (“Wawa”) to the pending motion for class certification and the parties’ respective
positions, as discussed during oral argument held on April 14, 2022.

        For the reasons set forth below, CIGNA and Wawa, like all of the other cases cited by
Plaintiff in his briefs, are inapplicable here. The Supreme Court in CIGNA and the District
Court in Wawa did indeed set aside the requirement to show detrimental reliance, but those
cases and, in particular, the remedy sought in those cases, are very different from the
circumstances in this case. Instead, detrimental reliance remains a necessary element of
Plaintiff’s breach of fiduciary duty claim and will require individualized proof by each class
member. So too has Plaintiff failed to meet the less rigorous “actual harm” requirement
suggested (but not required) in CIGNA, as the communications at issue are not uniform
across the proposed class. For these reasons and those discussed in DuPont’s brief and at the
oral argument, Plaintiff’s motion should be denied.




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I.       The Language At Issue In CIGNA Is “Purely Dicta” And Not Binding On
         District Courts.

         At the outset, it is important to note that Justice Scalia’s concurrence in CIGNA urged
district courts to approach the Supreme Court’s majority opinion with caution:

         The Court’s discussion of the relief available under § 502(a)(3) and Mertens is purely
         dicta, binding upon neither us nor the District Court. The District Court need not
         read any of it—and, indeed, if it takes our suggestions to heart, we may very well
         reverse. Even if we adhere to our dicta that contract reformation, estoppel and
         surcharge are ‘“distinctively equitable’ remedies,” it is far from clear that they are
         available remedies in this case. The opinion for the Court does not say (much less
         hold) that they are and disclaims the implication.

CIGNA, 563 U.S. at 862-63. Undersigned counsel has not located a single Third Circuit case
applying the CIGNA dicta regarding the equitable remedies available under Section
502(a)(3) to an analysis of whether an ERISA breach of fiduciary duty claim based on
allegedly misleading communications is appropriate for class treatment. Accordingly,
Justice Scalia’s words of caution are equally applicable to the Court in this instance.

II.      Unlike The Plaintiffs in CIGNA and Wawa, Plaintiff Here Does Not Seek Plan
         Reformation, But Relief Based On An Estoppel Theory.

        The Court in CIGNA explained that the limited issue on which it opined was whether
the District Court applied the correct legal standard, namely, “likely harm,” in deciding
whether CIGNA’s notice violations caused sufficient injury to warrant legal relief. The
Court explained that “the relevant standard of harm will depend upon the equitable theory by
which the District Court provides relief.” CIGNA, 563 U.S. at 425. In CIGNA, the equitable
theory was reformation of the plan1 in order to remedy the significantly incomplete and
misleading CIGNA disclosures about plan amendments, and to prevent fraud. Id. at 440.
Similarly, in Wawa, the plaintiff also sought to remedy plan disclosures following challenges
to plan amendments. Wawa, 387 F. Supp. 3d at 534.

        Significantly, the Court in CIGNA went on to note that, “when a court exercises its
authority under § 502(a)(3) to impose a remedy equivalent to estoppel, a showing of
detrimental reliance must be made.” CIGNA, 563 U.S. at 443. In this regard, claims
asserting breach of fiduciary duty based on a misrepresentation (or omission) seek equitable
relief akin to an estoppel theory. That was the case in Carr v. International Game

1
      The plaintiffs in CIGNA sought to have the District Court amend (i.e., reform) the terms
      of the pension plan to change the manner in which pension benefits were calculated.



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Technology, in which the District Court rejected the plaintiffs’ attempt to invoke CIGNA to
avoid their obligation to prove detrimental reliance, and denied class certification:

         Plaintiffs’ argument that the Supreme Court’s recent decision in CIGNA Corp. v.
         Amara, 131 S.Ct. 1866, 179 L. Ed. 2d 843 (2011), relieves them of their burden of
         proving detrimental reliance as an element of their communications claim is
         misplaced. The Amara Court addressed the need to show detrimental reliance with
         regard to the type of equitable remedy sought pursuant to ERISA § 502(a)(3), which
         authorizes “appropriate equitable relief” for violations of ERISA. After analyzing
         principles of the law of equity, the Court affirmed that when a court exercises
         authority under § 502(a)(3) to impose a remedy equivalent to estoppel, a showing
         of detrimental reliance must be made, but that such a showing may not be necessary
         for other types of equitable relief such as surcharge or reformation. The Court did
         not analyze whether detrimental reliance is an element of a claim for
         misrepresentation in violation of fiduciary duties arising under ERISA. As noted
         above, courts in this Circuit require detrimental reliance by a plaintiff as the
         causation element of a misrepresentation claim. Amara and Plaintiffs’ arguments
         relying thereon are therefore completely beside the point.

Case No. 3:09-cv-00584, 2012 U.S. Dist. LEXIS 35688, at *15-16 (D. Nev. Mar. 16, 2012)
(internal citations omitted) (emphasis added) (“Carr”).

        Here, Plaintiff’s Complaint has not sought and the Court has not suggested that
reformation is the appropriate remedy. Nor could it be, as (unlike CIGNA and Wawa) Plan
amendments are not at issue and indeed the Plan in question has always consistently required
participants to apply for early unreduced benefits before they can be paid out—to do
otherwise would constitute a clear violation of the requirements of ERISA. 2

       Rather, like the plaintiffs’ claim in Carr, Plaintiff here effectively requests that
DuPont be estopped from enforcing the Plan as written, due to its alleged failure to
adequately inform, on which Plaintiff allegedly relied to his detriment.


2
     See 29 U.S.C. § 1056(a) (providing that a participant must consent to receive pension
     benefits prior to normal retirement age); 29 U.S.C. § 1055(a) (providing that a pension
     benefit must be paid in the form of a qualified joint and survivor annuity, unless the
     participant elects another form of benefit and, if the participant is married, the
     participant’s spouse provides written consent). For the same reason, the damages that
     Plaintiff seeks cannot be properly characterized as restitution before a violation has been
     established, as the pension benefits are Plan assets unless and until participants elect to
     receive pension benefits.



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III.      Neither Detrimental Reliance Nor Actual Harm Can Be Established With
          Common Proof On A Class-Wide Basis.

        In CIGNA, the lower court explained that “only employees whom CIGNA’s
disclosure failures had harmed could obtain relief,” and determined “(1) that the evidence
presented had raised a presumption of likely harm suffered by the members of the relevant
employee class” and (2) that CIGNA had failed to offer contrary evidence with respect to
some or all of these employees to rebut that presumption. 563 U.S. at 432. The Supreme
Court agreed, explaining that a fiduciary may be surcharged under § 502(a)(3) “only upon a
showing of actual harm—proved (under the default rule for civil cases) by a preponderance
of the evidence.” Id. at 444. Actual harm, the Court explained, “may sometimes consist of
detrimental reliance,” or might also come from a statutory violation of ERISA, as was
present in CIGNA. Id. (emphasis added). The Court further clarified that “a plan participant
or beneficiary must show that the violation injured him or her. But to do so, he or she need
only show harm and causation. Although it is not always necessary to meet the more
rigorous standard implicit in the words ‘detrimental reliance,’ actual harm must be shown.”
Id.

        Neither actual harm nor detrimental reliance can be established class wide where, as
here, DuPont has submitted uncontroverted evidence that the individuals in the proposed
monetary class did not all receive the same disclosures. Some participants, like Plaintiff,
received a Pension Calculation Statement (delivered shortly before termination of
employment) identifying the EUBCD. Others received a significantly different form of
Statement of Deferred Vested Benefit that Plaintiff himself conceded provided “clear”
information with respect to participants’ EUBCDs. (Compare Exhibit A with Exhibit B,
both attached hereto).3 Plaintiff testified he did not receive summary plan descriptions
(“SPDs”), but it was nonetheless DuPont’s policy (which Plaintiff does not dispute) to mail
these SPDs to the individuals in the proposed monetary class at least once every five years
and, upon establishment of the DuPont Connection website (later renamed Corteva
Connection), to post the current version on the website. These SPDs include tables enabling
each participant to calculate their EUBCD. 4


3
       The Statement of Deferred Vested Benefit replaced the Accrued Benefit Statement that
       Plaintiff received subsequent to the Pension Calculation Statement. In fact, the vast
       majority of putative class members who did not commence their retirement benefit as of
       their EUBCD received the “clear” Statement of Deferred Vested Benefit.
4
       These critical differences in class communications distinguish this matter from the facts
       in Wawa and those of other district court opinions which involved uniform class wide
       misrepresentations in the SPDs at issue. Wawa, 387 F. Supp. 3d at 543; see also Osberg


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        Equally fatal to any showing of either detrimental reliance or actual harm are the
individualized circumstances wherein some participants terminated employment just weeks
or months before they would be eligible to collect unreduced benefits. These participants
would be captured in Plaintiff’s overbroad definition of the monetary class. Yet, a
reasonable person in receipt of notice of his or her EUBCD at the time of employment
termination would no doubt be able to remember and apply to commence unreduced
retirement benefits just a short time thereafter. Recall, more than 90% of those eligible for
early unreduced benefits during the proposed class period commenced their benefit before or
as of their EUBCD.

IV.      Conclusion.

        For these reasons and those raised in DuPont’s Brief in Opposition to Class
Certification and at oral argument, the Court should deny Plaintiff’s motion for class
certification.

Respectfully,




Beth Moskow-Schnoll (No. 2900)




David S. Fryman




cc:      Counsel of Record




      v. Foot Locker, Inc., No. 07-1358 (KBF), 2014 U.S. Dist. LEXIS 159711, at *4
      (S.D.N.Y. Sept. 24, 2014) (relying on “common, class-wide communications”).



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